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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
    CONCORD MANAGEMENT AND
    CONSULTING LLC,

         Defendant.


    DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION IN
                    LIMINE TO EXCLUDE EVIDENCE

        Pursuant to Federal Rules of Evidence (“FRE”) 401, 402, 403, and 404, Defendant Concord

Management and Consulting LLC (“Concord”), by and through undersigned counsel, brings this

motion in limine to preclude the government from offering certain evidence at trial.

        In particular, Concord requests that the Court issue an order precluding the government at

trial from:

        (1) offering any evidence or argument that the Russian government sponsored or was in

any way involved in the conspiracy alleged in the Superseding Indictment (“Indictment”) or that

Concord or any of its alleged co-conspirators are connected to the Russian government;

        (2) offering any evidence or argument referring to co-defendant Yevgeniy Prigozhin as

“Putin’s Chef,” “Putin’s Cook,” or an “oligarch”;

        (3) offering any evidence or argument regarding any sanctions imposed on Concord or any

of the other Defendants1 in the case by Department of the Treasury, Office of Foreign Assets

Control (“OFAC”) or any other agency;



1
 For purposes of this motion, any reference to “Defendants” includes all Defendants named in the
Superseding Indictment.

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         (4) offering any evidence or argument of Defendants’ alleged involvement in election

interference in other countries;

         (5) offering any evidence or argument of Concord and/or other Defendants’ lawful

conduct;

         (6) offering any evidence or argument that Concord and/or other Defendants violated the

restrictions on foreign national expenditures; and

         (7) offering any evidence or argument regarding any conduct of Concord or its alleged co-

conspirators beyond the January 2018 end date of the charged conspiracy.2

                                      LEGAL STANDARD

         Motions in limine are designed to narrow the evidentiary issues at trial. Williams v.

Johnson, 747 F. Supp. 2d 10, 14 (D.D.C. 2010). Such motions are an important mechanism of

insulating the jury from inadmissible evidence and of adhering to the goal of conducting

proceedings “fairly . . . to the end of ascertaining the truth and securing a just determination.”

United States v. Bikundi, No. 14-CR-030 (BAH), 2015 WL 5915481, at *3 (D.D.C. Oct. 7, 2015)

(citing Fed. R. Evid. 102 and Banks v. Vilsack, 958 F. Supp. 2d 78, 82 (D.D.C. 2013)). Rulings

on motions in limine in advance of the trial may generally be the better practice, for it permits

counsel to make the necessary strategic determinations. See United States v. Jackson, 627 F.2d

1198, 1209 (D.C. Cir. 1980); Burns v. Levy, Civ. No. 13-898, 2019 WL 6465142, at *3 (D.D.C.

2019).

         Irrelevant evidence is not admissible. FRE 402. Evidence is relevant only if “it has any

tendency to make a fact more or less probable than it would without the evidence; and [] the fact

is of consequence in determining the action.” FRE 401. Evidence is therefore relevant only if it


2
 Undersigned counsel conferred with government counsel and was advised that the government
has no intention to present evidence as to items (1) and (3).

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logically relates to matters that are at issue in the case. E.g., United States v. O’Neal, 844 F.3d

271, 278 (D.C. Cir. 2016); see Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S. 379, 387 (2008).

The burden is on the introducing party to establish relevancy, as well as admissibility. United

States v. Mosquera–Murillo, 153 F.Supp.3d 130, 175 (D.D.C., 2015) (citing Sprint/United Mgmt.

Co., 552 U.S. at 387). The Court has broad discretion to evaluate the relevance of proffered

evidence. See McLane Co., Inc. v. E.E.O.C., 137 S. Ct. 1159, 1168 (2017) (“District courts decide

. . . whether evidence is relevant at trial.”).

        Relevance, however, is not the only test of admissibility of evidence at trial. Rule 403 of

the Federal Rules of Evidence directs the court to exclude otherwise admissible evidence where

its probative value is substantially outweighed by a danger of unfair prejudice, confusing the

issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence. Fed. R. Evid. 403. “Assessing the probative value of [the proffered evidence] and

weighing any factors counseling against admissibility is a matter first for the district court’s sound

judgment under Rules 401 and 403.” Sprint/United Mgmt. Co., 552 U.S. 379 at 384 (alteration in

original) (quoting United States v. Abel, 469 U.S. 45, 54 (1984)). “This is particularly true with

respect to Rule 403.” Id. Under Rule 403, the court must “engage in on-the-spot balancing of

probative value and prejudice and . . . exclude even factually relevant evidence when it fails the

balancing test.” United States v. Moore, 651 F.3d 30, 63 (D.C. Cir. 2011) (internal quotation

marks omitted); see also Jennings v. Thompson, 792 F. Supp. 2d 1, 4 (D.D.C. 2011) (relevant

evidence should be excluded when there is danger of unfair prejudice at trial); Burns, 2019 WL

6465142, at *4 (quoting Sprint/United Mgmt. Co., 551 U.S. at 384) (Rule 403 “requires an ‘on-

the-spot balancing of probative value and prejudice, potentially to exclude as unduly prejudicial

some evidence that already has been found to be factually relevant’”). This balancing test is “fact-

based and depends on many factors, including how closely related the evidence is to the plaintiff’s


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circumstances and theory of the case.” Nuskey v. Hochberg, 723 F. Supp. 2d 229, 233 (D.D.C.

2010) (quoting Sprint/United Mgmt. Co., 552 U.S. at 387–88). “[U]nfair prejudice within [the

Rule 403] context means an undue tendency to suggest decision on an improper basis, commonly,

though not necessarily, an emotional one.” United States v. Ring, 706 F.3d 460, 472 (D.C. Cir.

2013) (quoting Fed. R. Evid. 403 advisory committee’s notes).

       Federal Rule of Evidence 404(b) bars the admission of evidence of a “crime, wrong, or

other act” offered “to prove a person’s character in order to show that on a particular occasion the

person acted in accordance with the character.” Fed. R. Evid. 404(b)(1). In other words, such

evidence cannot be admitted “when offered for the purpose of proving that a defendant acted in

conformity with his character . . . .” United States v. Straker, 800 F.3d 570, 589 (D.C. Cir. 2015)

(citing U.S. v. Lawson, 410 F.3d 735, 741 (D.C. Cir. 2005)); see also United States v. Moore, 709

F.3d 287, 296 (4th Cir. 2013) (evidence that “serve[s] only to establish [defendant]’s criminal

disposition [is] inadmissible”).

       While Rule 404(b) provides for limited circumstances under which propensity evidence

may be admissible, Fed. R. Evid. 404(b)(2) (“evidence may be admissible for another purpose,

such as proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident”), even then, the probative value of such evidence must be weighed

against the potential for prejudice under Rule 403.          As the D.C. Circuit has instructed,

“[c]ompliance with Rule 404(b) does not itself assure admission of the other crimes evidence. If

the defendant moves under Rule 403, the court may exclude the evidence on the basis that it is

unfairly prejudicial, cumulative or the like, its relevance notwithstanding.” United States v. Bowie,

232 F.3d 923, 930 (D.C. Cir. 2000); see also Bikundi, 2015 WL 5915481, at *5. “Even if it is

concededly relevant, unduly prejudicial evidence may be excluded to prevent jurors from

impermissibly relying on biases, dislikes, or the emotional impact of the evidence, for example by


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drawing on assumptions about a defendant’s bad character, rather than proof of the criminal

conduct charged.” Straker, 800 F.3d at 589. “This two-step analysis—certification of a ‘proper’

and relevant purpose under Rule 404(b), followed by the weighing of probity and prejudice under

Rule 403—is firmly rooted in the law of this circuit.” United States v. Miller, 895 F.2d 1431, 1435

(D.C. Cir. 1990); see also United States v. Sitzmann, 856 F. Supp. 2d 55, 61–62 (D.D.C. 2012)

(applying the two-step analysis described in Miller).

                                          ARGUMENT

I.     The Government Should Be Precluded From Offering Evidence or Argument That
       The Russian Government Sponsored The Conspiracy Alleged In The Indictment Or
       That Concord Or Any Of Its Alleged Co-Conspirators Is Connected To The Russian
       Government

       As noted elsewhere in the record, the government, including the Department of Justice, in

violation of this Court’s Local Rules, improperly linked the Russian government to the conspiracy

alleged in this case. See, e.g., Concord’s Motion to Show Cause, ECF 129, and related briefing.

But the Court has correctly recognized, the Indictment “does not link the defendants to the Russian

government . . . alleg[ing] only private conduct by private actors.” July 1, 2019 Mem. Op. & Order

(“July 1 Opinion”) at 6, ECF 148. Because the Indictment does not allege any involvement of the

Russian government in the alleged conspiracy and since the prosecution has already acknowledged

on the record that it does not intend to introduce evidence or argue to the jury that the Russian

government was behind the charged conspiracy,3 Concord seeks an order from the Court



3
  See Oct. 25, 2019 Hr’g Tr. 7:24-8:3 (prosecutor acknowledging that the government does not
intend to “introduce evidence or argue to the jury that the Russian government was behind the
conspiracy that is charged in the case”).
It should also be noted that the Court has explicitly ordered the government to identify any
individual or entity it intends to establish at trial was the “foreign principal” on whose behalf any
alleged conspirator was acting as a “foreign agent” under FARA. Sept. 19, 2019 Hr’g Tr. 49:24-
50:3. The government has not identified the Russian government. See Sup. Ind., ECF 247; Gov’t
Bill of Particulars, ECF 146; Gov’t Oct. 4, 2019 Letter, ECF 210-33. See also Oct. 25, 2019 Hr’g
Tr. 4:25-5:2 (prosecutor confirming that these documents identify any individual or entity the

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precluding the government from introducing any evidence or argument regarding a connection

between the Russian government and the alleged conspiracy.

       And even if evidence showing that the Russian government was behind the alleged

conspiracy or linking Concord to the Russian government had any probative value—it does not—

it should nevertheless be excluded because it amounts to “guilt by association” evidence that is

highly prejudicial to Concord. United States v. Hernandez, 780 F.2d 113, 118 (D.C. Cir. 1986)

(holding that it was abuse of discretion for the trial court to admit evidence that “would naturally

lead a jury to assume that [defendant] had the motive of his associates: a slightly refined version

of guilt by association”); United States v. Aranda-Diaz, 31 F. Supp. 3d 1285, 1298 (D.N.M. 2014)

(excluding evidence of defendant’s gang membership as prejudicial because “it has the potential

to elicit an unfavorable reaction from the jury and cause the jury to condemn him for his gang

membership, rather than decide the case on the evidence that the United States presents against

him at trial on this specific drug transaction”); United States v. Kane, No. 2:13-CR-250-JAD-VCF,

2015 WL 3823023, at *2 (D. Nev. June 19, 2015) (excluding testimony of expert who intended to

testify on “motorcycle gangs and their propensity to commit acts of violence on behalf of the club”

because of “the unfairly prejudicial risk of painting a defendant guilty by mere association”).

       The risk of prejudice is particularly prevalent here where the government, in briefing before

this Court, has referred to Russia as a “foreign adversary,” ECF 141-2 at 4, and has made numerous

unsupported public statements insinuating that the alleged conspiracy was sponsored by the

Russian government, most notably in the Special Counsel’s “Report On The Investigation Into

Russian Interference In The 2016 Presidential Election” (the “Mueller Report”)—a redacted

version of which was made available to the public in April 2019—and Attorney General William



government intends to establish at trial was the foreign principal on whose behalf the alleged
foreign agents acted).

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Barr’s (“AG Barr”) public statements regarding this case after the release of the Mueller Report.

The Mueller Report contains numerous statements declaring that the Russian government did

indeed commit acts of election interference in relation to the 2016 Presidential Election. See

Mueller Report at 1 (“The Russian government interfered in the 2016 presidential election in

sweeping and systematic fashion.”); Mueller Report at 35 (“the investigation established that

Russia interfered in the 2016 presidential election through the ‘active measures’ social media

campaign carried out by the IRA, an organization funded by Prigozhin and companies that he

controlled”). AG Barr’s remarks on the Muller Report echo these sentiments. See U.S. Dep’t of

Justice, Att’y Gen. William P. Barr Delivers Remarks on the Release of the Report on the

Investigation into Russian Interference in the 2016 Presidential Election (April 18, 2019), available

at         https://www.justice.gov/opa/speech/attorney-general-william-p-barr-delivers-remarks-

releasereport- investigation-russian (“As the Special Counsel’s report makes clear, the Russian

government sought to interfere in our election . . . .”; “The Special Counsel’s report outlines two

main efforts by the Russian government to influence the 2016 election . . . .”; “[T]he Special

Counsel confirmed that the Russian government’s sponsored efforts to illegally interfere with the

2016 presidential election . . . .”). Making matters even worse, both the Mueller Report and AG

Barr’s remarks on the Mueller Report were widely reported by the media. See ECF 129 at 4-7

(collecting articles).

        To be clear, this is a problem of the government’s own making. As the Court previously

found, by making these extrajudicial statements the government violated Local Rule 57.7, which

prohibits prosecutors from publicly disseminating any “information or opinion . . . if there is a

reasonable likelihood that such dissemination will interfere with a fair trial or otherwise prejudice

the due administration of justice.” Local Crim. R. 57.7(b)(1). In so finding, the Court determined

that “it is significant and prejudicial that the government itself drew a link between [the


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Defendants] and the Russian government.” July 1 Opinion at 8. Recognizing the undue prejudice

that may result from these types of statements and insinuation, on May 29, 2019, the Court issued

an order prohibiting the government “from making or authorizing any public statements that links

the alleged conspiracy in the indictment to the Russian government or its agencies.” ECF 137. As

the Court noted, despite the government’s extensive and prejudicial statements to the public, the

Indictment itself does not link the Defendants to the Russian government. July 1 Opinion at 6-8

(noting that the “Attorney General ‘confirmed’ what the indictment does not allege—that

Concord’s and its co-defendants’ activities were ‘sponsored’ by the ‘Russian government’”). To

allow the government to introduce evidence or argue at trial that the Russian government was

behind the alleged conspiracy or linking the Russian government to Concord would only

exacerbate the prejudice already inflicted on Concord by the government’s extrajudicial

statements.4

       Given the government’s public proclamations declaring the Russian government guilty of

election interference, combined with the public’s general knowledge of the Special Counsel’s

investigation and the Mueller Report, evidence or argument that suggests the Russian government

sponsored the alleged conspiracy or that improperly and implicitly links Concord to the Russian

government has the potential to inflame the jury’s passions and lead it to convict on improper bases

such as patriotism and national pride. The introduction of evidence or argument linking Concord

to the Russian government—a nonparty to this action that has been declared “guilty” of election

interference in the eyes of the public—unnecessarily and prejudicially injects “an invidious

criminal element into the case” and may lead the jury to convict Concord “on a theory of guilt by


4
 Prejudicial statements to this effect are also found in the Indictment. To that end, Concord has
moved to strike the allegation in the Indictment that Concord and Concord catering “are related
Russian entities with various Russian government contracts.” ECF 208 at 8. The Court has not
yet ruled on this motion.

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association.” United States v. St. Michael’s Credit Union, 880 F.2d 579, 602 (1st Cir. 1989). The

risk of unfair prejudice is of particular concern here because “election interference” is neither a

crime nor defined by statute. A clear distinction must therefore be drawn between undefined and

nebulous concept of “election interference”—not itself an unlawful act—and what is actually

being prosecuted here: conspiring to defraud the United States by impairing, obstructing, or

defeating the lawful functions of the Federal Election Commission (“FEC”), Department of Justice

(“DOJ”), and Department of State (“DOS”).5 Introducing evidence that suggests a link between

Concord and the Russian government, which the U.S. government has announced engaged in

election interference, blurs that line to a prejudicial degree. As a result, if the prosecution is

permitted to tie Concord or its co-Defendants to the Russian government, the jury may attempt to

punish Concord for “election interference” based on that prejudicial association rather than the

evidence presented at trial relating to the elements of the § 371 conspiracy charge set forth in the

Indictment.

       For these reasons, the prosecution should be precluded from making any suggestion that

the Russian government in any way directed or was involved in the conduct alleged in the

Indictment or that Concord or any of its alleged co-conspirators are associated with the Russian

government.




5
  Evidence that suggests a link between Concord and the Russian government also has the potential
to confuse the jury. Whether the Russian government was directing the conduct charged in the
Indictment is completely irrelevant to the elements of the charge, which alleges that Defendants—
not the Russian government—conspired to impair the lawful functions of the FEC, DOJ, and DOS.
Introducing evidence that suggests that Russia was behind that conduct will only serve to muddy
the waters in an already convoluted prosecution that relies on a highly technical and novel
application of 18 U.S.C. § 371.

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II.    The Government Should Be Precluded From Offering Evidence or Argument
       Referring To Defendant Yevgeniy Prigozhin As “Putin’s Chef,” “Putin’s Cook,” or
       an “Oligarch” During Trial

       The moniker “Putin’s Chef” or “Putin’s Cook”6 was first coined by the Russian media (and

later adopted by the Western media) “because of [Mr. Prighozin’s] restaurants and catering

businesses that once hosted the Kremlin leader’s dinners with foreign dignitaries,” and as a result

many media reports have referred to Mr. Prigozhin as an oligarch.7 Concord anticipates that the

government will attempt to introduce evidence of Mr. Prigozhin’s media-created monikers, or refer

to Mr. Prigozhin by these monikers, at trial. Reference to these monikers and evidence of the same

should be excluded at trial because it is irrelevant, and improperly and implicitly links Concord to

Vladmir Putin and the Russian government, which would be unduly prejudicial to Concord for the

reasons set forth above.

       Evidence of a nickname or alias is relevant only insofar as it is “necessary to identify the

defendant in connection with the acts charged in the indictment.” United States v. Brodie, 326 F.

Supp. 2d 83, 90 (D.D.C. 2004) (citing United States v. Clark, 541 F.2d 1016, 1018 (4th Cir. 1976)).

“In order to make an alias relevant and its admission permissible, there must be proof of the alias

and the alias must hold some relationship to the acts charged . . . .” United States v. Brown, 5 F.



6
 The Russian word “chef” or “шеф” literally translates to “boss” or “chief.” Accordingly, Russian
persons are unlikely to refer to Mr. Prighozin as “Putin’s Chef” and are more likely to use the
phrase “Putin’s Cook.”
7
   Thousands of Russian private contractors fighting in Syria, Associated Press (Dec. 12, 2017),
https://apnews.com/7f9e63cb14a54dfa9148b6430d89e873 (noting that Mr. Prigozhin was
“dubbed ‘Putin’s chef’ by Russian media because of his restaurants and catering businesses that
once hosted the Kremlin leader’s dinners with foreign dignitaries”); see also, e.g., Adrian Chen,
The      Agency,     The     New      York      Times      Magazine       (June      2,    2015),
https://www.nytimes.com/2015/06/07/magazine/the-agency.html (referring to Mr. Prigozin as “an
oligarch restauranteur called ‘the Kremlin’s chef’ in the independent press for his lucrative
government contracts and his close relationship with Putin”); Yevgeny Prigozhin, Russian
Oligarch Indicted by U.S., Is Known as ‘Putin’s Cook’, New York Times (Feb. 16, 2018),
https://www.nytimes.com/2018/02/16/world/europe/prigozhin-russia-indictment-mueller.html.

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Supp. 3d 786, 788 (E.D. Va. 2014). Even if evidence of a nickname is relevant, “a trial court

should consider seriously whether the probative value is substantially outweighed by any danger

of unfair prejudice . . . and whether introduction of the nickname is truly needed to identify the

defendant, connect him with the crime, or prove some other matter of significance.” United States

v. Farmer, 583 F.3d 131, 135 (2d Cir. 2009).

       The identification of the Defendants is not a concern here, making it clear that Mr.

Prigozhin’s “nicknames” are irrelevant and therefore inadmissible at trial. These monikers are the

creation of and solely used by the media, and Mr. Prigozhin is the only Defendant named in the

Indictment with the surname Prigozhin. And to the extent that there are any other individuals

named Prigozhin that are relevant to this case (Concord is not aware of any), the government could

easily distinguish them by using Mr. Prigozhin’s first name, Yevgeniy.            Accordingly, the

government does not need to refer to Mr. Prigozhin as “Putin’s Chef,” “Putin’s Cook,” or an

“oligarch” to fully identify him or distinguish him from the other alleged participants in the

conspiracy. Furthermore, the use of these nicknames is completely avoidable because they appear

only in media reports, which are, in any case, inadmissible.

       Although the complete irrelevance of Mr. Prigozhin’s “nicknames” should end the inquiry

into their admissibility, references to Mr. Prigozhin’s media-created monikers should also be

excluded because their admission would be unfairly prejudicial. Were the government allowed to

refer to Mr. Prigozhin as “Putin’s Chef” or “Putin’s Cook” or an “oligarch” at trial, the jury would

undoubtedly draw the inference that Mr. Prigozhin (and by extension, Defendant Concord) acted

on behalf of, or is somehow associated with, Vladmir Putin or the Russian government. As

discussed above, evidence that impermissibly and implicitly suggests a link between Concord and

the Russian government amounts to nothing more than “guilt by association” evidence that is

highly prejudicial to Concord.


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       For these reasons, the government should be precluded from referring to Mr. Prigozhin as

“Putin’s Chef,” “Putin’s Cook,” or an “oligarch” at trial or introducing any evidence of the same.

III.   The Government Should Be Precluded From Offering Evidence Or Argument Of
       Any Sanctions Imposed On Defendants During Trial

       As Concord has previously raised with the Court, in briefing throughout this case the

government has raised the issue of various sanctions imposed by the United States Treasury

Department’s Office of Foreign Assets Control (“OFAC”) on Concord, Mr. Prigozhin, and their

co-Defendants. See, e.g., Concord’s Motion to Compel Discovery at 2-3, ECF 229 (collecting the

government’s references to the sanctions throughout the litigation); Concord’s Reply in Supp. of

Mot. to Compel Discovery at 9, ECF 255 (same). On December 20, 2016 and June 20, 2017,

OFAC sanctioned Mr. Prigozhin and Concord, respectively, pursuant to Executive Order 13661,

related to Russia’s alleged activity in the Ukraine (“the Ukraine Sanctions”); on March 15, 2018,

OFAC sanctioned Mr. Prigozhin and Concord, as well as the other Defendants, pursuant to

Executive Order 13964 based on the allegations contained in the Indictment (“the Cyber-related

Sanctions”). Id. at 1-2.

       In resisting Concord’s motion to compel discovery on the issue of both the Ukraine

Sanctions and the Cyber-related Sanctions, the government responded very clearly, asserting that

“[t]he sanctions are entirely irrelevant to the underlying charge.” See Gov’t Opp. to Def.’s Mot.

to Compel Discovery, ECF 253, at 11 (referring to both the Ukraine Sanctions and the Cyber-

related Sanctions). The Court agreed, noting that the “[I]ndictment itself does not reference OFAC

or any of the sanctions imposed on the defendants” and that the government’s repeated reference

to the sanctions “concerned collateral matters, rather than the actual allegations contained in the

indictment or the merits of the government’s case.”8 November 27, 2019 Minute Order. See also


8
 Moreover, the government cannot introduce documents it refused to disclose in discovery. Under
Rule 16 of Criminal Procedure, Concord is entitled to disclosure of information which is (1)

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Dec. 12, 2019 Hr’g Tr. 44:16-18 (Court noting that the “materials Concord sought from [OFAC]

were not material to preparing its defense”). As such, Concord seeks an order prohibiting the

government from introducing evidence or argument referring to these sanctions at trial.

          Although the irrelevance of evidence relating to economic sanctions should end the inquiry

into its admissibility, this evidence should also be excluded because the only conceivable basis for

introducing such evidence would be to show Concord’s tendency to engage in other bad acts—a

basis that is expressly prohibited under Rule 404. As noted above, Rule 404(b) expressly precludes

the admission of evidence of a “crime, wrong, or other act” offered “to prove a person’s character

in order to show that on a particular occasion the person acted in accordance with the character.”

Fed. R. Evid. 404(b)(1). And even if this evidence was introduced for a permissible purpose under

Rule 404, the Court should nevertheless exclude it under Rule 403 because of the danger of unfair

prejudice. Evidence of the sanctions—particularly the Cyber-related Sanctions, which were

specifically based on the allegations in the Indictment, see ECF 255 at 7-8—may lead the jury to

conclude that Concord and co-Defendants are bad actors who have been sanctioned as a result of

proven misconduct, when the reality is the conduct for which they were sanctioned was not proven

at all.




“within the government’s possession, custody, or control” and (2) “material to preparing the
defense.” See Fed. R. Crim. P. 16(a)(1)(E)(i). “The language and the spirit of the Rule are
designed to provide to a criminal defendant, in the interest of fairness, the widest possible
opportunity to inspect and receive such materials in the possession of the government as may aid
him in presenting his side of the case.” United States v. Libby, 429 F. Supp. 2d 1, 5 (D.D.C. 2006)
(quoting United States v. Poindexter, 727 F. Supp. 1470, 1473 (D.D.C. 1989)). The government
has refused to disclose any information relating to the OFAC sanctions and the Court determined
it to not be material to the present case. November 27, 2019 Minute Order. The government
should not be allowed to use at trial previously undisclosed documents and any evidence not
provided to Concord during the discovery period. United States v. Robinson, 258 F.Supp.3d 85,
86 (D.D.C. 2017). The grant of this request is fair and in the interest of justice.

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       Rather, the Executive Branch unilaterally imposed sanctions on Defendants without any

proof of any illegal conduct and without providing Defendants an opportunity to defend

themselves. What is more, to allow the government to refer to the OFAC sanctions at trial would

necessarily amount to revisiting some of the issues which the Court already addressed, and would

unfairly prejudice the jury against Concord. Mfg. Automation & Software Sys., Inc. v. Hughes,

No. 216CV08962CASKSX, 2019 WL 266970, at *6 (C.D. Cal. Jan. 15, 2019) (in case involving

judicial sanctions relating to spoliation, finding that where court already addressed sanctions and

awarded relief, providing additional remedy by allowing references to sanctions at trial would be

unfairly prejudicial). To permit the government to introduce any evidence or argument regarding

the Cyber-related Sanctions would create extreme prejudice by improperly suggesting that the

sanctions were imposed because Concord is guilty of the conduct with which it has been charged.

       For these reasons, the government should be precluded from referring to any sanctions

imposed on Defendants during trial and introducing any evidence of the same.

IV.    The Government Should Be Precluded From Offering Evidence Or Argument Of
       Defendants’ Alleged Involvement In Election Interference In Other Countries

       Since the initiation of this case, numerous media outlets have reported on their speculations

regarding some of the Defendants’ alleged involvement in “election interference” in other

countries.9 Such speculation has no tendency to prove any fact that is of consequence to the

determination of this action, and should therefore be precluded under Rules 401 and 402.

        The speculation itself—often spruced up with sensational embellishments and conjured

guesswork—provides no facts which were tested and proven in any court of law. For this reason,

reference to Defendants’ alleged involvement in election interference in other countries should


9
 See, e.g., Michael Schwirtz, et al., How Russia Meddles Abroad for Profit: Cash, Trolls and Cult
Leader,      The     New       York       Times    (Nov.     11,     2019)       available     at
https://www.nytimes.com/2019/11/11/world/africa/russia-madagascar-election.html.

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also be excluded under Rules 403 and 404. The only fathomable basis for introduction of this

type of evidence would be government’s impermissible attempt to show that Defendants have a

propensity to interfere in foreign elections by holding political rallies and by engaging in

disinformation campaigns on social media. Even if this propensity evidence were admissible for

some other purposes—it is not—any mention or reference to these allegations should be excluded

because they would be highly unfair and prejudicial to Concord. Given that “election interference”

is not a crime or charged in the Indictment, evidence of alleged “election interference” outside the

United States would only serve to confuse the jury by distracting from the crime that is charged

here—conspiring to defraud the United States by impairing, obstructing, or defeating the lawful

government functions of the DOJ, FEC, and DOS for the purpose of interfering in the 2016

presidential election. Such evidence also has the potential to inflame the jury’s passions and lead

it to convict on an improper basis.

       For these reasons, the government should be precluded from referring to Defendants’

alleged involvement in election interference in other countries and from introducing any evidence

of the same.

V.     The Government Should Be Precluded From Offering Prejudicial Evidence Or
       Argument Of Lawful Conduct At Trial

       The government’s exhibit list makes it clear that it will attempt to introduce evidence of

lawful activity to support the conspiracy charged. Notably, the Indictment contains several

references to activity that amounts to lawful conduct, even when engaged in by a foreign individual

or entity. See, e.g., Sup. Ind. ¶¶ 34 (discussing thematic group pages on social media unrelated to

specific candidates, which amounts to lawful issue advocacy), 50 (outlining several advertisements

that do not constitute express advocacy). To be clear, to the extent that Defendants—who are

foreign nationals located outside of the United States—engaged in such conduct, it would not be

unlawful under either FECA or FARA. That is because FECA “does not bar foreign nationals

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from issue advocacy,” Bluman v. Fed. Election Comm’n, 800 F. Supp. 2d 281, 284 (D.D.C. 2011),

and FARA only applies to conduct occurring within the United States. 22 U.S.C. § 611(c)

(defining “agent of a foreign principal” as person who engages or acts “within the United States

. . .” in certain activities). Accordingly, evidence that Defendants, while outside the United States,

posted content related to social issues or purchased advertisements that constitute permissible issue

advocacy are entirely irrelevant to the charges brought against Concord.

       Because this evidence is irrelevant to the charge at hand, the only basis the government

might have to introduce such evidence is to show Concord’s criminal disposition or its propensity

to—as the government puts it—“interfere with the U.S. political system, including the 2016 U.S.

presidential election.” Sup. Ind. ¶ 3. In other words, the government may attempt to introduce

evidence of Defendants’ issue-advocacy related activities—which are not unlawful—to

prejudicially suggest that Concord is likely to have been involved in prohibited express-advocacy

related activities. However, this is precisely the type of evidence that Rule 404(b)(1) prohibits,

and while Rule 404 does permit such evidence to be admitted under limited circumstances, no such

circumstances are present here. Defendants are not charged with actually violating FECA or

FARA, but are instead charged with conspiring to defraud the United States by impairing,

obstructing, or defeating the lawful functions of the FEC, DOJ, and DOS for the purpose of

interfering in the 2016 presidential election. Thus, the connection between Defendants’ lawful

activities and the crime that is actually charged is even more attenuated. Defendants’ various

lawful activities do not tend to show motive, opportunity, or intent in impairing the lawful

government function of the FEC, DOJ, or DOS.

       Even if evidence of Defendants’ lawful activities was somehow admissible under Rule 404,

such evidence should be excluded under Rule 403 because it has the potential to confuse the jury

and is highly prejudicial to Concord. As discussed above, the government’s convoluted and highly


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technical conspiracy charge already has the potential to confuse the jury. Apparently, the

government will introduce evidence of potential FECA violations not to show that Concord

violated FECA itself, but to show that Concord conspired to impair the lawful functions of the

FEC in administering FECA. But to inject evidence of lawful activity into that equation will

further confuse the jury as to what lawful functions of the FEC were allegedly the target of the

conspiracy and runs the risk of the jury convicting Concord on the basis of legal conduct.

       More importantly, the introduction of such evidence would be inflammatory and highly

prejudicial to Concord. As shown in the Indictment, the government raises particularly contentious

political issues, such as immigration, the Black Lives Matter movement, religion, politically-

charged regions within the United States, and references to U.S. political parties about which the

jurors will undoubtedly have strong opinions. See Sup. Ind. ¶¶ 34, 36. The introduction of such

evidence will inflame the jury’s passions and has the potential to bias certain jurors against

Concord depending on how those jurors feel about these contentious issues. The risk of prejudice

is of particular concern here given the context and notoriety of this case. Introduction of such

evidence will support the narrative that—as the government puts it—Defendants sought “to sow

discord in the U.S. political system” and lead the jury to improperly convict Concord on that basis.

Id. ¶ 6. In other words, evidence of statements regarding contentious social issues may persuade

the jury to punish Concord for “election interference,” even though statements regarding social

issues are not unlawful and “election interference” is not a crime that has been—or can be—

charged against Concord. Such evidence could lead the jury to convict on an emotional basis, and

should therefore be excluded at trial. See Ring, 706 F.3d at 472 (quoting Fed. R. Evid. 403 advisory

committee’s notes) (describing unfair prejudice as “undue tendency to suggest decision on an

improper basis, commonly, though not necessarily, an emotional one”).




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VI.    The Government Should Be Precluded From Offering Evidence Or Argument that
       Concord And Other Defendants Violated The FEC’s Foreign National Expenditure
       Restrictions

       The Superseding Indictment now alleges that Concord and other Defendants conspired to

interfere with the FEC’s functions in two ways: (1) by failing to file reports for certain advertising

expenditures, and (2) by making prohibited advertising expenditures. As set forth in previous

filings, the sum and substance of these prohibited expenditures produced in discovery is at most

the equivalent of $2,930. See Concord’s Mot. for Supp. Bill of Particulars at 11, ECF 181.

       The Superseding Indictment does not charge a FECA violation; and if it had charged a

violation of the foreign national expenditure restrictions the government would have to prove

beyond a reasonable doubt that Concord or other defendants were specifically aware that a small

number of advertisements allegedly purchased on Facebook violated that restriction. See Bluman

v. F.E.C., 800 F. Supp. 2d 281, 292 (D.D.C. 2011) (noting that the restriction on foreign

expenditures “require[s] proof of the defendant’s knowledge of the law”). It is undisputed that the

government did not bring such a charge because it could not prove it.10 So if this evidence of the

statutory restrictions on certain expenditures by foreign nationals is put before the jury, it would

likely result in jury confusion which could cause the jury to convict Concord on that provision

alone even in the absence of proof that Concord was aware of those restrictions.

VII.   The Government Should Be Precluded From Offering Evidence Or Argument
       Regarding Any Conduct Of Concord Or Its Alleged Co-Conspirators Beyond The
       January 2018 End Date Of The Alleged Conspiracy

       The Superseding Indictment alleges that the conspiracy existed “in or around 2014 to in or

around January 2018.” See Sup. Ind. ¶ 2.11 As such, the government should be precluded from



10
  Instead the government has consistently argued that it was not unlawful for it to circumvent the
higher mens rea requirement for a FECA violation by charging a § 371 defraud prong conspiracy.
11
  Consistent with this allegation, in the briefing regarding the parties’ proposed jury instructions,
the government agreed that January 2018 “is the appropriate end date to include in the jury

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offering any evidence or argument that Concord or its alleged co-conspirators, continued to engage

in similar conduct beyond January 2018.

       As noted in previous filings, the government has made public statements suggesting that

the Defendants are continuing to engage in the conduct alleged in this case, and unsealed and

publicly announced a criminal complaint filed in another district alleging as much. See, e.g.,

Concord’s Mot. to Dismiss Count One of the Sup. Ind. at 12-14, ECF 256 (collecting recent

instances of such statements by government officials); United States v. Khusyaynova, 1:18-mj-464

(E.D. Va.); Press Release, Department of Justice, Russian National Charged with Interfering in

U.S. Political System (Oct. 19, 2018), https://www.justice.gov/opa/pr/russian-national-charged-

interfering-us-political-system. Any evidence of conduct that allegedly took place beyond the end

date of the alleged conspiracy is irrelevant to the charges and should be excluded. See United

States v. Lyles, 593 F.2d 182, 195 (2d. Cir. 1979) (finding that trial court abused its discretion in

admitting evidence of uncharged conduct that occurred after the charged conspiracy).

Furthermore, given that the upcoming trial will take place during an election year, any such

evidence would be highly prejudicial to Concord because it would likely elicit an emotional

response from the jury who will likely have the 2020 U.S. Presidential election at the forefront of

their minds.

       The upcoming trial should focus solely on whether the government can prove beyond a

reasonable doubt that Concord and other Defendants participated in a conspiracy to defraud the

United States from “in or around 2014 to in or about January 2018,” as charged by the grand jury

in the Superseding Indictment. Any evidence or argument about conduct beyond the conspiracy

end date would be highly prejudicial evidence that federal courts routinely preclude. See Straker,



instructions.” Gov’t Disc. of Diff. Between the Parties’ Proposed Jury Instructions at 19 n.6, ECF
292.

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800 F.3d at 589. (“[U]nduly prejudicial evidence may be excluded to prevent jurors from

impermissibly relying on biases, dislikes, or the emotional impact of the evidence, for example by

drawing on assumptions about a defendant’s bad character, rather than proof the criminal conduct

charged.”). For these reasons, the Court should issue an order requiring the government to limit

its evidence and argument to the conduct of Concord and the other Defendants during the time

period charged in the Superseding Indictment.

                                        CONCLUSION

       Based on the foregoing, the Court should exercise its discretion and grant Concord’s

motion in limine in its entirety.

 Dated: January 10, 2020                             Respectfully submitted,

                                                     CONCORD MANAGEMENT
                                                     AND CONSULTING LLC

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